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                  Exhibit A
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                 Metro West Detention Center (MWDC) Inspection Report
                                     April 18, 2020
                     Dr. Dushyantha Jayaweera & Dr. Hansel Tookes

   Executive Summary: Our overarching recommendation is an urgent reduction in the population in this
   facility and increased screening for COVID19 infection among the staff and inmates to mitigate the
   spread of this infection within the community.

       1. Background: CDC has issued Interim Guidance on the Management of Coronavirus Disease
          201(COVID-19) in Correctional and Detention Facilities
          (https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
          correctional-detention.html). We have reviewed the Temporary Restraining Order (DE 25) and
          Notice of Compliance (DE 30). During our inspection, we toured all housing units where the
          seven named Plaintiffs are housed; housing units where quarantined inmates are being held;
          the ingress/egress staff screenings; medical facilities; dining facilities; laundry facilities;
          shower/bathroom facilities; and storage areas for cleaning supplies and personal protective
          equipment. We would like to thank the staff at the MWDC, especially the Captain, Lieutenant,
          the physicians and nurses who were most helpful and went out of their way to show the facility
          and answer all our questions. They should be commended for their commitment to protect the
          staff and the inmates in this facility during this COVID-19 pandemic. They are doing their best
          balancing social distancing and regulation applicable to the facility. Our observations are
          reported as medical, environmental, and hygiene.
       2. Observations:
                      1. Inspection Report: We have reviewed the Temporary Restraining Order (DE 25)
                          and Notice of Compliance (DE 30). During our inspection, we toured all housing
                          units where the seven named Plaintiffs are housed; housing units where
                          quarantined inmates are being held; the ingress/egress staff screenings; medical
                          facilities; dining facilities; laundry facilities; shower/bathroom facilities; and
                          storage areas for cleaning supplies and personal protective equipment.
                      2. The ingress/egress staff screenings: Well done with clear instructions and
                          temperature monitoring of all individuals coming in.
                      3. Cleanliness of the housing units: The housing units inspected appeared clean.
                      4. Social distancing measures: We noted tape on the floor to encourage social
                          distancing in lines in one unit. The bunks are staggered with head to foot
                          configuration. However, on each level of the bunk, the heads are oriented to the
                          same side as highlighted by a sticker. This distance is not in accordance with
                          CDC recommendations of 6 ft distance. Additionally, there was congregation
                          around tables, and around televisions, that violated social distancing guidelines.
                          The units have changed the setup of the eating/recreation tables, but social
                          distance is not able to be maintained. The areas with the telephones do not
                          allow for social distancing. The housing units have a capacity of 64. Almost all of
                          the units inspected (except medical housing) were too overcrowded to allow for
                          adequate social distancing.
                      5. Cleanliness of and access to medical, laundry and dining facilities: There is 24-
                          hour medical at Metro West. Patients are staggered and appropriately
                          distanced when going to medical. We witnessed a respiratory emergency
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                           during the inspection where the medical team responded quickly. However, the
                           patient came from a quarantine unit, was having dyspnea, but was not isolated
                           in the clinic (he was simply in a holding area behind a curtain).
                      6.   Laundry and dining occur in the housing units which had adequate cleanliness.
                      7.   Cleanliness of and access to shower/bathroom facilities; The shower and
                           bathroom facilities were accessible and clean.
                      8.   Availability and stock of cleaning supplies and personal protective equipment;
                           We inspected the storage on the housing units, and for the overall facility.
                           There is availability and adequate stock of cleaning supplies and PPE. Inmates
                           all have surgical masks. Staff all have N95s or surgical masks. Hand sanitizer is
                           available to staff throughout and to patients in the clinic. We were provided
                           with PPE upon entry after medical screening including questionnaire and
                           temperature check. PPE provided included N95, face shield, bunny suit, shoe
                           covers, hand sanitizer, gloves.
                      9.   Availability and stock of hygienic and disinfecting supplies: We inspected the
                           storage of supplies and they were more than adequate.

       3. Recommendations: In our professional opinion, the high census of Metro West Detention
          Center in addition to the dormitory style housing units, makes it impossible to follow CDC
          guidance for social distancing measures, placing staff and inmates at risk for COVID-19
          infection. We recommend an urgent decrease in the population density of the housing units to
          allow for adequate social distancing for the prevention of COVID-19. In addition, we strongly
          recommend initiating the best possible COVID-19 testing method (to be determined by the
          infection control for Jackson Health System led by Dr Lillian Abbo) at regular intervals to screen
          all the staff members at MWDC to prevent introduction of this infection from external sources.
          Likewise, we strongly recommend increased screening for COVID-19 among the inmates to
          mitigate spread within Metro West and within the Miami community at release.




          Hansel Tookes
          4/20/2020




       Dushyanth                          Digitally signed by
                                          Dushyantha
       a                                  Jayaweera.
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